Case 1:24-cr-00346-BMC          Document 53     Filed 12/04/24        Page 1 of 3 PageID #: 553


                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
AAS/RMP                                            271 Cadman Plaza East
F. #2021R00600                                     Brooklyn, New York 11201




                                                   December 3, 2024

Kenneth Abell
Jarrod L. Schaeffer
Abell Eskew Landau LLP
256 Fifth Avenue, 5th Floor
New York, NY 10001

Seth DuCharme
Nicole Boeckmann
Bracewell LLP
31 W. 52nd Street, Suite 1900
New York, NY, 10019-6118


By Email and ECF


                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

               Please find the following materials produced in accordance with Rule 16 of the
Federal Rules of Criminal Procedure, which are contained on encrypted hard drives produced
separately to counsel for the respective defendant. The government renews its request for
reciprocal discovery from the defendants.

 Bates No.                                       Description of Item

                                                 Forensic image of the unencrypted portion of
                                                 a Silver Apple iMac All in One Desktop,
                                                 model A1419, serial number
 EDNY-037881
                                                                  , that was Seized at the Sun
                                                 and Hu Residence.
Case 1:24-cr-00346-BMC   Document 53   Filed 12/04/24        Page 2 of 3 PageID #: 554




 Bates No.                                 Description of Item

                                           Forensic Image of a Silver MacBook Pro with
 EDNY-037882                               Serial Number                   that was
                                           Seized at the Sun and Hu Residence

                                           Forensic Image of a Gold-colored USB that
 EDNY-037883
                                           was Seized at the Sun and Hu Residence

                                           Forensic Image of a blue and white USB that
 EDNY-037884
                                           was Seized at the Sun and Hu Residence

                                           Forensic Image of a SIM Card that was
 EDNY-037885
                                           Seized at the Sun and Hu Residence

                                           Forensic Image of a white USB that was
 EDNY-037886
                                           Seized at the Sun and Hu Residence

                                           Forensic Image of an iPhone XM model
 EDNY-037887                               A1984, IMEI                     , that was
                                           Seized at the Sun and Hu Residence

                                           Forensic Image of an iPhone 12 Pro, Model
 EDNY-037888                               A2341, IMEI                    , that was
                                           Seized at the Sun and Hu Residence

                                           Forensic Image of two micro SD cards that
 EDNY-037889
                                           were Seized at the Sun and Hu Residence

                                           Forensic Image of a red and black SanDisk
 EDNY-037890                               USB that was Seized at the Sun and Hu
                                           Residence

                                           Forensic Image of a 16 GB silver Lexar USB
 EDNY-037891
                                           that was Seized at the Sun and Hu Residence

                                           Forensic Image of a USB that was Seized at
 EDNY-037892
                                           the Sun and Hu Residence

                                           Forensic Image of an iPhone X, model 1921,
 EDNY-037893                               IMEI                    , that was Seized at
                                           the Sun and Hu Residence

                                           Responsive Report for an Electronic Device
 EDNY-037894
                                           Owned by



                                       2
Case 1:24-cr-00346-BMC       Document 53        Filed 12/04/24     Page 3 of 3 PageID #: 555




 Bates No.                                       Description of Item

                                                 Responsive Report for an Electronic Device
 EDNY-037895
                                                 Owned by


              You may examine the physical evidence discoverable under Rule 16, including
original documents and items, by calling us to arrange a mutually convenient time.



                                                   Very truly yours,

                                                   BREON PEACE
                                                   United States Attorney

                                          By:       /s/ Alexander A. Solomon
                                                   Alexander A. Solomon
                                                   Robert M. Pollack
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

cc:    Clerk of the Court (BMC) (by ECF) (without download link)




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